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                        EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                        DECLARATION
         -v.-
                                                                          24 Cr. 542 (AS)
 SEAN COMBS,

                           Defendant.


STATE OF NEW YORK             )
COUNTY OF NEW YORK            ) ss.
SOUTHERN DISTRICT OF NEW YORK )

       CHRISTY SLAVIK hereby declares under penalty of perjury:

       1.        I have been an Assistant United States Attorney in the United States Attorney’s

Office for the Southern District of New York (“USAO-SDNY”) since approximately November

2019. I have been a member of the USAO-SDNY team responsible for investigating, charging,

and trying the present case (the “Prosecution Team”) since approximately August 2024. I submit

this Declaration in response to the Court’s Order of January 3, 2025 (Dkt. No. 123), and in support

of the Government’s opposition to the Defendant’s motion of December 4, 2024 (Dkt. No. 117).

       2.        This affidavit is based upon my personal knowledge as well as my review of

relevant communications and my conversations with other members of the Prosecution Team and

supervisors from the USAO-SDNY. Where the contents of statements and conversations of others

are reported herein, they are reported in substance and in part, except where otherwise indicated.

                BOP’s Monitoring of the Defendant’s Communications in Custody

       3.        Based on my discussions with a USAO-SDNY unit chief who directly supervises

the Prosecution Team and the prosecution of the defendant (“Supervisor-1”), I have learned that

on or about October 10, 2024, Bureau of Prisons (“BOP”) personnel contacted Supervisor-1 and

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informed her that a BOP intelligence analyst (“Investigator-1”) had been monitoring the

defendant’s communications from the MDC and had found apparent attempts to circumvent

monitoring, as well as the use of coded language and possible attempts to engage in witness

intimidation. That same day, Supervisor-1 requested “transactional data” (e.g., the defendant’s

email and phone contact list and the defendant’s emails) from the BOP, and I served the BOP with

a grand jury subpoena for non-attorney phone calls placed to or from the defendant. Since that

time, I have been the member of the Prosecution Team primarily responsible for liaising with the

BOP, including Investigator-1.

       4.      On or about October 13, 2024, I spoke with Investigator-1, who provided an

overview of some of the defendant’s calls that he had monitored. Investigator-1 also detailed the

unauthorized methods of communications the defendant was using, including using other inmates’

PAC numbers, using three-way calling, and using a third-party messaging service. I spoke with

Investigator-1 on several other occasions in October and November 2024.

                                 Planning for the MDC Sweep

       5.      Based on my discussions with another USAO-SDNY unit chief who does not

supervise the Prosecution Team or otherwise have involvement in the defendant’s prosecution

(“Supervisor-2”), I have learned that beginning in or around June and July 2024, the BOP and the

United States Department of Justice Office of the Inspector General (“DOJ OIG”) began planning

a large-scale search of the MDC for contraband (the “MDC Sweep”). The BOP and DOJ OIG,

who were responsible for the execution of the MDC Sweep, hosted a series of status calls with

participating federal agencies, as well as representatives from the USAO-SDNY and the United

States Attorney’s Office for the Eastern District of New York (“USAO-EDNY”). Supervisor-2

was present on these calls.



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       6.      Based on my conversations with members of the Prosecution Team, I have learned

that no member of the Prosecution Team was involved in the planning of the MDC Sweep.

Further, as described in Paragraph 7 infra, prior to October 28, 2024, no member of the Prosecution

Team was aware of the MDC Sweep.

                   The MDC Sweep: October 28, 2024 – November 1, 2024

       7.      Based on my review of email communications, I learned that on or about October

28, 2024, the BOP and other federal agencies began executing the planned MDC Sweep. That

day, after the MDC Sweep was already in progress, members of the Prosecution Team learned of

the MDC Sweep when Supervisor-2 sent an email to all Assistant United States Attorneys

(“AUSAs”) in the Criminal Division of the USAO-SDNY (the “Office-wide Email”). The Office-

wide Email informed AUSAs that the MDC Sweep was a pre-planned, large-scale search of the

MDC in response to persistent contraband issues at the MDC. It further stated that the MDC

Sweep was not the result of any specific intelligence or threat. I also understood from the Office-

wide Email that it was expected that contraband (e.g., narcotics, weapons, and electronic devices)

could be seized from USAO-SDNY defendants during the MDC Sweep and that AUSAs may be

contacted about contraband seized from defendants in their assigned cases.

       8.      Based on my conversations with Supervisor-2—who, as described above, is not

part of the Prosecution Team but had a role coordinating with those responsible for planning the

MDC Sweep—I have learned that the MDC Sweep continued through November 1, 2024.

Supervisor-2 was at the MDC on or about October 28, 2024 and on or about the morning of

October 29, 2024, to ensure legal issues involving USAO-SDNY defendants were addressed and




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to relay information to the USAO-SDNY AUSAs prosecuting defendants from whom contraband

had been seized.

       9.     Based on my review of public reporting, I am aware that on October 28, 2024,

various media outlets reported that there was an “interagency operation” at the MDC where Sean

Combs, the defendant, was housed. See, e.g., “Authorities launch ‘interagency operation’ at

federal jail in New York housing Sean ‘Diddy’ Combs,” Associated Press, Oct. 28, 2024, available

at                               https://apnews.com/article/diddy-jail-brooklyn-federal-prisons-

ac89fcc984eba107a4585b57534df0ca.

       10.    Based on my conversations with Supervisor-2, I have learned that on or about the

morning of October 29, 2024, following the completion of the first day of the MDC Sweep,

representatives from the BOP, federal agencies, the USAO-SDNY (i.e., Supervisor-2), and the

USAO-EDNY, met regarding the ongoing execution of the MDC Sweep and discussed various

issues that had arisen, including the amount of time that the search was taking and a potential

search of a unit located in the east building of the MDC (“Unit-1”). Unit-1 is a non-general

population unit where the defendant—along with other inmates—is housed.           The agencies

conducting the search inquired into, among other things, the position of the USAO-SDNY and

USAO-EDNY regarding the potential search of Unit-1. Supervisor-2 responded that he had

understood that the MDC Sweep would include searching Unit-1 but that he would confer with

senior leadership at the USAO-SDNY.

       11.    Based on my conversations with Supervisor-1 and Supervisor-2, and my review of

communications, I have learned that on or about October 29, 2024, Supervisor-2 informed

Supervisor-1 that the sweep of the west side of the MDC was taking longer than expected and it

was unclear whether the east side of the MDC would be searched. Supervisor-1 informed

Supervisor-2 that, in her view, the MDC Sweep should include the east side of the MDC as
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planned, in part because of what the Prosecution Team had learned regarding the defendant’s

conduct at the MDC. At the request of Supervisor-2, Supervisor-1 conferred with USAO-SDNY

senior leadership about the search of the east side of the jail. This conversation included, in

substance, that the sweep was taking longer than expected, and did not include discussion of the

defendant. Thereafter, Supervisor-1 relayed to Supervisor-2 that the position of the USAO-SDNY

was that the MDC Sweep should stick to the original plan to search the entire jail. Supervisor-2

relayed to other personnel present at the MDC, in substance, that the sweep of Unit-1 should

proceed as planned.

       12.     Based on my conversations with Supervisor-1 and Supervisor-2, I have learned that

no USAO-SDNY personnel directed how the search of Unit-1 would be conducted or whether any

particular area or bunk within Unit-1, or any particular inmate’s possessions, should be searched.

In addition, no USAO-SDNY personnel were aware that Investigator-1 would be involved in the

MDC Sweep. Other than Supervisor-2, who is not part of the Prosecution Team, no USAO-SDNY

personnel had awareness of the specific details of the MDC Sweep’s operational plan.

       13.     Based on my November 3, 2024 communications with Investigator-1 described

infra at Paragraph 16, I have learned that Unit-1, on the east side of the MDC, was searched on

November 1, 2024.

       14.     Based on my conversations with Supervisor-2, I have further learned that neither

Supervisor-2 nor any other USAO-SDNY personnel directed, or was aware during the search of

Unit-1, that the defendant’s bunk area or possessions would be searched in any manner inconsistent

with the BOP’s overall plan to execute the MDC Sweep to locate contraband. Neither Supervisor-

2 nor any other USAO-SDNY personnel directed that any of the defendant’s possessions be seized

or photographed, or were aware of whether that had occurred until after the search of Unit-1.



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         15.   Based on my participation in this prosecution and my conversations with other

members of the Prosecution Team, I know that prior to and during the MDC Sweep, no member

of the Prosecution Team communicated with Investigator-1 or any other BOP personnel or federal

agents conducting any part of the MDC Sweep about the search of Unit-1 until after it had

concluded.

 The Prosecution Team’s Communications with Investigator-1 Following the MDC Sweep

         16.   On or about November 3, 2024, following the completion of the MDC Sweep, the

Prosecution Team first became aware of Investigator-1’s involvement in the MDC Sweep through

a phone call between myself and Investigator-1. Investigator-1 informed me that he had spent

time in the defendant’s unit (i.e., Unit-1) and checked the defendant’s bunk area for contraband,

including cellphones. Investigator-1 also informed me that he took photographs of certain of the

defendant’s papers and an address book (the “BOP Notes”). Investigator-1 provided a high-level

overview of the contents of the BOP Notes, including the defendant’s plans to discredit possible

witnesses and find dirt on people.

         17.   At the conclusion of the November 3, 2023 call, I requested that Investigator-1 send

the BOP Notes directly to the AUSA leading the Filter Team (i.e., the team charged with reviewing

material that may contain attorney communications or work product). By email later that day,

Investigator-1 confirmed that he had sent the BOP Notes directly to the Filter Team AUSA.

Dated:         New York, New York
               January 17, 2025

                                     By:     /s
                                             Christy Slavik
                                             United States Attorney’s Office
                                             Southern District of New York




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